Case 2:21-cv-02840-AB-AFM Document 331-2 Filed 06/15/23 Page 1 of 3 Page ID #:3176




    1   PRYOR CASHMAN LLP
        Benjamin S. Akley (State Bar No. 278506)
    2   bakley@pryorcashman.com
    3   Shamar Toms-Anthony (State Bar No. 323246)
        stoms-anthony@pryorcashman.com
    4   1801 Century Park East, 24th Floor, Los Angeles, California 90067
    5   Telephone: (310) 683-6900
    6   Donald S. Zakarin (admitted pro hac vice)
    7   dzakarin@pryorcashman.com
        Frank P. Scibilia (admitted pro hac vice)
    8   fscibilia@pryorcashman.com
    9   Alexandra Nasar (pro hac vice application forthcoming)
        anasar@pryorcashman.com
   10   7 Times Square, 40th Floor, New York, New York 10036
        Telephone: (212) 421-4100
   11
   12   James G. Sammataro (State Bar No. 204882)
        jsammataro@pryorcashman.com
   13   255 Alhambra Circle, 8th Floor, Miami, Florida 33134
   14   Telephone: (786) 582-3003
   15   Attorneys for the Pryor Cashman-Represented Defendants
   16
                             UNITED STATES DISTRICT COURT
   17                       CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
   18
   19                                             Case No.: 2:21-cv-02840-AB-AFM
        CLEVELAND CONSTANTINE
   20   BROWNE, ET AL.,                           DEFENDANTS’ REQUEST FOR
   21                                             JUDICIAL NOTICE IN SUPPORT
                     Plaintiffs,                  OF MOTION TO DISMISS
   22          v.                                 PURSUANT TO FRCP 8 AND
   23                                             12(b)(6)
        RODNEY SEBASTIAN CLARK, ET                (Filed concurrently with Notice of Motion
   24   AL.,                                      and Motion; Memorandum; Declaration
   25                                             of Benjamin S. Akley)
                     Defendants.
   26                                             Date: September 22, 2023
   27                                             Time:10:00 a.m.
                                                  Place: Courtroom 7B
   28
Case 2:21-cv-02840-AB-AFM Document 331-2 Filed 06/15/23 Page 2 of 3 Page ID #:3177




    1                           REQUEST FOR JUDICIAL NOTICE
    2         The Pryor Cashman-Represented Defendants hereby request, pursuant to Federal
    3   Rule of Evidence 201 and the authorities cited below, that the Court take judicial notice
    4   of the following documents submitted in conjunction with their Motion to Dismiss:
    5         1.     A copy of the “detailed record view” of the United States Copyright Office
    6   (“Copyright Office”) Certificate of Registration for Copyright Number SR 0000957068
    7   as obtained from the U.S. Copyright Records Online Public Catalog, attached as
    8   Exhibit 1 to the accompanying Declaration of Benjamin S. Akley (“Akley Decl.”).
    9         2.     A copy of the “detailed record view” of the Copyright Office Certificate of
   10   Registration for Copyright Number PA 0002264496 as obtained from the U.S. Copyright
   11   Records Online Public Catalog, and a copy of the “detailed record view” of the
   12   Copyright Office Certificate of Registration for Copyright Number PA 0002281747 as
   13   obtained from the U.S. Copyright Records Online Public Catalog, attached as Exhibit 2
   14   to the Akley Decl.
   15         3.     A copy of the “detailed record view” of the Copyright Office Certificate
   16   of Registration for Copyright Number SR 0000884348 as obtained from the U.S.
   17   Copyright Records Online Public Catalog, and a copy of the “detailed record view” of
   18   the Copyright Office Certificate of Registration for Copyright Number SR 0000893268
   19   as obtained from the U.S. Copyright Records Online Public Catalog, attached as
   20   Exhibit 3 to the Akley Decl.
   21         Federal Rule of Evidence 201 permits courts to take judicial notice of any fact that
   22   is “not subject to reasonable dispute in that it is either (1) generally known within the
   23   territorial jurisdiction of the trial court or (2) capable of accurate and ready determination
   24   by resort to sources whose accuracy cannot reasonably be questioned. Fed. R. Evid.
   25   201(b); see also Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001). Further,
   26   the Rule mandates that judicial notice be taken where it is “requested by a party and
   27   supplied with the necessary information, id. at 201(c), and authorizes judicial notice “at
   28   any stage of the proceeding.” Id. at 201(d).
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Case 2:21-cv-02840-AB-AFM Document 331-2 Filed 06/15/23 Page 3 of 3 Page ID #:3178




    1         The Court may take judicial notice of each of the items above because they are
    2   matters of public record, specifically website print-outs of the copyright registrations at
    3   issue in the Second Consolidated Amended Complaint. See, e.g., MGIC Indem. Corp.
    4   v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986) (explaining that courts may take judicial
    5   notice of matters of public record). Indeed, courts routinely take judicial notice of print-
    6   outs of copyright registrations, correspondence with the Copyright Office, and copies of
    7   documents received from the Copyright Office. See, e.g., Sybersound Recs., Inc. v. UAV
    8   Corp., 517 F.3d 1137, 1146 (9th Cir. 2008) (considering “copies of copyright
    9   registration records from the United States Copyright Office” on a motion to dismiss);
   10   Elohim EPF USA, Inc. v. Total Music Connection, Inc., No. CV 14-02496-BRO (EX),
   11   2015 WL 12655556, at *8 (C.D. Cal. Oct. 1, 2015) (taking judicial notice of a website
   12   print-out of a copyright registration from a government website); Ricketts v. Haah, No.
   13   2:13-CV-00521-ODW, 2013 WL 3242947, at *2 (C.D. Cal. June 26, 2013) (taking
   14   judicial notice of information on the Copyright Office database).
   15
   16   Dated: June 15, 2023
   17                              PRYOR CASHMAN LLP
   18                              By:    /s/ Donald S. Zakarin
   19                              Donald S. Zakarin (dzakarin@pryorcashman.com)
                                   Frank P. Scibilia (fscibilia@pryorcashman.com)
   20                              James G. Sammataro (jsammataro@pryorcashman.com)
   21                              Benjamin S. Akley (bakley@pryorcashman.com)
                                   Shamar Toms-Anthony (stoms-anthony@pryorcashman.com)
   22                              Alexandra Nasar (anasar@pryorcashman.com)
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   26
   27
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